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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

                                           )
  MAYA SPEIGHTS-CARNEGIE,                  )
                                           )
               Plaintiff,                  )    No. 15 C 3781
                                           )
          v.                               )    Judge Virginia M. Kendall
                                           )
  THE BLACKSTONE CONDO. ASS’N              )
  et al.,
                                           )
               Defendants.                 )
                                           )

                                      ORDER

      Speights-Carnegie moved the Court to clarify and reconsider its 9/17/2018 or-
der arguing that the Court should bar the defendants from asserting an affirmative
defense of bona fide error and requesting that it reset the damages hearing. (Dkt.
75.) The Court granted the motion in part on 11/13/2018 (Dkt. 78), resetting the
hearing for 3/7/2019, and took the motion under advisement in part to reconsider the
affirmative defense issue.

       In her motion and in open court, Speights-Carnegie contended that the defend-
ants failed to assert any affirmative defenses in their: (1) answer; (2) discovery re-
sponses; and (3) response to Speight-Carnegie’s motion for summary judgment. In
fact, the defendants first raised bona fide error on 4/30/2018 in their response to
Speight-Carnegie’s motions to stay. (Dkt. 74.) That was more than a month after
this Court entered judgment as a matter of law in Speight-Carnegie’s favor—thus
terminating the case—on 3/28/2018. (Dkts. 66–67.)

       The defendants failed to appear at the motion hearing on 11/13/2018 and did
not respond in writing. Speights-Carnegie, for her part, explained that she did not
originally object to their argument because the defendants mixed it into their re-
sponse to her motion to set the damages hearing instead of properly moving to add
the defense. (Dkt. 76 ¶ 16.)

       “Federal Rule of Civil Procedure 8(c) requires that defendants raise all affirm-
ative defenses that will defeat the allegations in the complaint in a responsive plead-
ing.” Castro v. Chicago Hous. Auth., 360 F.3d 721, 735 (7th Cir. 2004). Failing to
raise defenses in an answer forfeits those defenses. See id. (citations omitted). For

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instance, a defendant forfeits an affirmative defense when she neglects to plead it in
her answer and instead raises it for the first time in her response to a plaintiff’s mo-
tion for summary judgment. See Venters v. City of Delphi, 123 F.3d 956, 967–69 (7th
Cir. 1997); see also United States v. Adent, 821 F.3d 911, 914 (7th Cir. 2016) (holding
that the defendants forfeited their affirmative defense when they failed to include it
in their answers, their response to the plaintiff’s motion for summary judgment, and
any motions to amend their answers).

       In this case, the defendants did not even include their affirmative defense in
their 4/4/2017 response to Speight-Carnegie’s motion for summary judgment. (Dkt.
57.) Worse, the defendants waited to raise it for over another year, until they re-
sponded to Speight-Carnegie’s motions for stay on 4/30/2018. (Dkt. 74.)

      True enough, this Court may, though it need not, permit an untimely defense
provided that the plaintiff does not suffer prejudice from the delay. See Glob. Tech.
& Trading, Inc. v. Tech Mahindra Ltd., 789 F.3d 730, 731 (7th Cir. 2015). Here,
however, Speights-Carnegie would suffer great prejudice from the delay because she
never had an opportunity to explore the issue during discovery, and not because the
defendants failed to raise it, but because the defendants affirmatively and expressly
stated that they did not have any affirmative defenses. (Dkt. 76-1.)

       So, truth be told, this was not just a forfeiture; it was a knowing, intelligent,
and voluntary waiver. Cf. United States v. Young, 908 F.3d 241, 246–47 (7th Cir.
2018) (illustrating the difference between forfeiture and waiver). To date, the defend-
ants have not excused their conduct in any way, which is especially egregious consid-
ering bona fide error has been available to them since day one. Furthermore, that
omission matters: Speights-Carnegie has never been on notice of this defense and she
needs an opportunity to contest it. See Bell v. Taylor, 827 F.3d 699, 705 (7th Cir.
2016).

        At best, the defendants whiffed; at worst, they acted in bad faith and engaged
in gamesmanship, deception, and misrepresentation. Because Rule 8(c) is not a dead
letter, the Court rebukes the defendants’ attempts to invoke defenses at the eleventh
hour and grants the part of Speight-Carnegie’s motion to clarify and reconsider (Dkt.
75) previously taken under advisement. Accordingly, the Court prohibits the defend-
ants from raising their defense of bona fide error at the 3/7/2019 damages hearing.




                                        ____________________________________
                                        Virginia M. Kendall
                                        United States District Judge
Date: January 30, 2019

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